Case 3:05-bk-03817-JAF Doc 12440-3 Filed 11/09/06 Pagei1of2

UNITED STATES BANKRUPTCY COURT FOR THE MIDDLE DISTRICT OF FLORIDA, JACKSONVILLE DIVISION

In re: Case No. 05-03817-3F 1
Winn-Dixie Stores, Inc., et al.,' Chapter 11
Debtors. Jointly Administered

NOTICE OF (A) ENTRY OF ORDER CONFIRMING PLAN OF REORGANIZATION,
(B) OCCURRENCE OF EFFECTIVE DATE OF PLAN, AND (C) BAR DATES FOR FILING CLAIMS
ARISING BEFORE EFFECTIVE DATE AND OTHER ADMINISTRATIVE CLAIMS

TO: ALL PARTIES IN INTEREST

PLEASE TAKE NOTICE THAT:

1, On , 2006, the United States Bankruptcy Court for the Middle District of Florida, Jacksonville Division (the
“Bankruptcy Court”) entered its Order Confirming Joint Plan of Reorganization of Winn-Dixie Stores, Inc. and Affiliated Debtors (the
"Confirmation Order"). Unless otherwise defined herein, capitalized terms used in this Notice shall have the meanings ascribed to such terms
in the Joint Plan of Reorganization of Winn-Dixie Stores, Inc. and Affiliated Debtors dated August 9, 2006, as modified by the First
Modification to Joint Plan of Reorganization of Winn-Dixie Stores, Inc. and Affiliated Debtors dated October __, 2006 (together, the
"Plan"). Copies of the Confirmation Order and the Plan may be obtained by accessing http://www.loganandco.com or
http://www. flmb.uscourts.gov.

2, The conditions to consummation of the Plan set forth in Section 10.2 of the Plan were satisfied (or waived) on :
2006. Thus, in accordance with the terms of the Plan, the Plan became effective on , 2006 (the “Effective Date”). All references in
the Plan and the Confirmation Order to the Effective Date are to , 2006.

3, In accordance with Section 12.1 of the Plan, subject to the provisions of paragraph 4 below, all requests for payment of an
Administrative Claim or any Claim arising against the Debtors in the period between February 21, 2005 and _ 2006, (other than as set
forth in Section 4.1(a), 12.1, 12.2, 12.3, 12.4, or 12.5 of the Plan) must be made by application filed with the Bankruptcy Court and served on
counsel for the Reorganized Debtors and the Post-Effective Date Committee no later than , 2006, which is the date forty-five (45)
days after the Effective Date. The filing of an application must be made via the Bankruptcy Court’s electronic filing procedures (electronic
filing is mandatory for all attorneys) or by delivery of a hard copy to the Clerk of the Court, United States Courthouse, 300 North Hogan St.,
Suite 3-350, Jacksonville, Florida 32202. The service of an application on counsel for the Reorganized Debtors must be made by delivery of
a copy upon James Post, Smith Hulsey & Busey, 225 Water Street, Suite 1800, Jacksonville, Florida 32202, Fax: (904) 359-7708, E-mail:
jpost@smithhulsey.com; and service of an application on counsel for the Post-Effective Date Committee must be made by delivery of a copy
upon Matthew Barr, Milbank, Tweed, Hadley & McCloy LLP, 1 Chase Manhattan Plaza, New York, New York 10005, Fax: 212-822-5194,
E-mail: mbarr@milbank.com. In the event that the Reorganized Debtors object to an application, the Bankruptcy Court shall determine the
Allowed amount of such Administrative Claim. Subject to the provisions of paragraph 4 below, an Administrative Claim or any Claim
arising against the Debtors in the period between February 21, 2005 and , 2006 that is not asserted in an application filed and
served no later than , 2006, shall be forever barred and deemed waived and relinquished in full, and the Reorganized
Debtors shall have no obligation to pay such Claim.

4. Notwithstanding the provisions of paragraph 3, (a) no application seeking payment of an Administrative Claim or any
Claim arising between February 21, 2005 and , 2006 is required with respect to an undisputed post-petition obligation which was paid
or is payable by a Debtor in the ordinary course of business; provided, however, that in no event shall a post-petition obligation that 1s
contingent or disputed and subject to liquidation through pending or prospective litigation, including, but not limited to, alleged obligations
arising from personal injury, property damage, products liability, consumer complaints, employment law (excluding claims arising under
workers’ compensation law), secondary payor liability, or any other disputed legal or equitable claim based on tort, statute, contract, equity,
or common law, be considered to be an obligation which is payable in the ordinary course of business; and (b) no application is required with
respect to Cure owing under an executory contract or unexpired lease if the amount of Cure is fixed or proposed to be fixed by order of the

' In addition to Winn-Dixie Stores, Inc., the following entities are debtors in these related cases: Astor Products, Inc., Crackin’ Good, Inc., Deep South
Distributors, Inc., Deep South Products, Inc., Dixie Darling Bakers, Inc., Dixie-Home Stores, Inc., Dixic Packers, Inc., Dixie Spirits, Inc., Dixie Stores, Inc.,
Economy Wholesale Distributors, Inc., Foodway Stores, Inc., Kwik Chek Supermarkets, Inc., Sunbelt Products, Inc., Sundown Sales, Inc., Superior Food
Company, Table Supply Food Stores Co., Inc., WD Brand Prestige Steaks, Inc., Winn-Dixie Handyman, Inc., Winn-Dixie Logistics, Inc., Winn-Dixie
Montgomery, Inc., Winn-Dixie Procurement, Inc., Winn-Dixie Raleigh, Inc., and Winn-Dixie Supermarkets, Inc.

Case 3:05-bk-03817-JAF Doc 12440-3 Filed 11/09/06 Page 2 of2

Bankruptcy Court pursuant to a motion to assume and fix the amount of Cure filed by the Debtors and a timely objection asserting an
increased amount of Cure filed by the non-Debtor party to the subject contract or lease,

5. In accordance with Section 12.2(a) of the Plan, all final requests for payment of Professional Fee Claims pursuant to
Sections 327, 328, 330, 331, 503(b), or 1103 of the Bankruptcy Code must be made by application filed with the Bankruptcy Court and
served on the Reorganized Debtors, their counsel, counsel to the Creditors Committee or the Post-Effective Date Committee, the fee
examiner, and other necessary parties-in-interest no later than » 2006, which date is sixty (60) days after the Effective Date, unless
otherwise ordered by the Bankruptcy Court. No hearing shall be held on an application for a Professional Fee Claim until the fee examiner
has completed and filed a report with respect to the Professional Fee Claim. Objections to such applications must be filed and served on the
Reorganized Debtors, their counsel, and the requesting Professional or other entity on or before the date that is thirty (30) days (or such
longer period as may be allowed by order of the Bankruptcy Court) after the later of (i) the date on which the applicable application was
served or (ii) the date on which the fee examiner’s report with respect to the applicable Professional Fee Claim was filed.

Dated: , 2006
D. J. Baker Stephen D. Busey
Sally McDonald Henry, Rosalie Walker Gray, Adam 8. Ravin James H. Post, Cynthia C. Jackson, Leanne Prendergast
SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP SMITH HULSEY & BUSEY
Four Times Square, New York, New York 10036 225 Water Street, Suite 1800, Jacksonville, Florida 32202
Co-Counsel for Debtors Co-Counsel for Debtors

116505)-New York Server 7A - MSW
